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                            UNITED STATES DISTRICT COURT
                         F'OR THE DISTRICT OF' MASSACHUSETTS



                                                                  )
OVILA    RICHARD                                                  )
        Plaintiff,                                                )
                                                                  )
vs.                                                               )    Civil Action No.
NORTHEAST CREDIT SOLUTIONS,INC., i
JOHN DOES, and JANE DOES         )
        Defendants,                                               i




COMPLAINT AND DEMAND F'OR JURY TRIAL




                     T      INTRODACTION



1. This is an action for actual and statutory damages brought by plaintiff Ovila Richard,

an individual consumer, against Defendants' violations of the Fair Debt Collection

Practices   Act,   15 U.S.C. S 1692 et seq. (hereinafter   "FDCpA") which prohibits   debt

collectors from engaging in abusive, deceptive, and unfair practices, and also out of the

invasions of Plaintiff s personal privacy by these Defendants and their agents in their

illegal efforts to collect a consumer debt from Plaintiff.
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                   il.     JURISDICTION



 2. Jurisdiction of this court   arises under 15 U.S.C. $ 1692k(d), which states that such

 actions may be brought and heard before,     "[A]ny appropriate United   States district court

 without regard to the amount in controversy,,,and also under 2g U,s.c. 1337.
                                                                       $



 3. Venue in this District is proper pursuant to 28 U.S.C. $ 1391(b) (2) inthat asubstantial

 part of the events or omissions giving rise to the claim occurred here, Because
                                                                                 Defendant

 transacts business here, personal j urisdiction is established.




                  NL      PARTIES



4. Plaintiff ovila Richard is a consumer, as that term is defined by 15 u.s.c.
                                                                                   $

1692a(3), as well as a natural person allegedly obligated to pay any debt, residing
                                                                                       in
Worcester County, in the state of Massachusetts.




5. Defendant, Northeast Credit Solutions, Inc. is a collection agency and foreign

cotporation engaged in the business of collecting debt in this state with its principal place

of business located at 3719 union Road, suite 22r, cheektowaga, New york 14225.



6. Defendant   John Does 1-10 (hereinafter "Defendant John Does") are natural person(s)

who were employed by Defendant as collection agents, whose identities are currently
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                  IV. FACTAAL ALLEGATIONS



 10' Sometime before 2012, Plaintiff, Ovila Richard, incurred   a financial obligation that

was primarily for personal, family, or household purposes and is therefore a 'debt', as

that term is defined by the FDCPA, 15 U.S.C. g 1692a(5).




11. Upon information and belief, at some point the alleged debt was consigned, placed or

otherwise transferred to Defendant for collection from Ovila.




12. The debt that Defendant is attempting to collect on is an alleged obligation of   a

consumer to pay money arising out of a transaction in which the money, property,

insurance or services which are the subject of the transaction are primarily for personal,

family, or household purposes, whether or not such obligation has been reduced to

judgment, as, again, defined by the FDCPA, 15 U.S.C. g 1692a(5).




13. Defendant then within one year prior to the filing of this complaint, began contacting

Ovila and placing collection calls to Ovila prior to May 29,2012; seeking and demanding

payment for an alleged consumer debt owed under an account number.




14. Upon information and belief, within one year prior to the filing of this complaint,

Defendants continued to call Ovila and harass him, and accuse him of lying to them,

without his consent, after Ovila already gave them reason to know that he was not the

alleged debtor that they were looking for and that he did not know the alleged debtor.
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unknown to Plaintiff. Defendant John Does are "debt collectors" as that term is defined

by the FDCPA, 15 U.S.C. $ 1692a(6). One or more of the Collectors may be joined as

parties once their identities are disclosed through discovery.




7. Defendant   Jane Does 1-10 (hereinafter "Defendant Jane Does") are natural person(s)

who was employed by Defendant as collection agents, whose identities are currently

unknown to Plaintiff. Defendant Jane Does are "debt collectors" as that term is defined

by the FDCPA, 15 U.S.C. $ 1692a(6). One or more of the Collectors may be joined as

parties once their identities are disclosed through discovery.




8. Plaintiff is informed   and believes, and thereon alleged, that Defendant uses

instrumentalities of interstate commerce or the mails in any business, the principal

purpose of which being the collection of debts. Defendant is engaged in the collection        of
debts from consumers using the mail, electronic mail, facsimile, and telephone, and

regularly collects or attempts to collect, directly or indirectly, debts owed or due or

alleged to be owed or due another, being    a"debt collector"    as defined   by the FDCPA,

1s U.S.C. $ r692a(6).




9. At all relevant times, Defendant   acted through   it duly authorized agents, employees,

officers, members, directors, heirs, successors, assigns, principals, trustees, sureties,

subrogees, representatives, and insurers.
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 15. Again, Defendants refused to believe Ovila despite Ovila's best efforts, and

 continued to harass him.




                                            SUMMARY



 16' All of the above-described collection communications made to Plaintiff Ovila

Richard by each individual Defendant and other collection employees employed by

Defendant Northeast Credit Solutions, Inc. were made in violation of numerous and

multiple provisions of the FDCPA, including but not limited to all of the provisions of the

FDCPA cited herein.




17' The above-detailed conduct by these Defendants of harassing Ovila in an effort to

collect this debt was a violation of numerous and multiple provisions of the FDCpA,

including but not limited to all of the above mentioned provisions of the FDCPA, as well

as an   invasion of Ovila's privacy.




18. As    a result   of the acts alleged above, Defendant caused Ovila to become very upset

because of the aggressive manner in which this debt was collected by these Defendants.




19. Ovila suffered actual damages as a result of these illegal collection communications

by these Defendants in the form of anger, anxiety, emotional distress, fear, frustration,
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humiliation, upset, embarrassment, amongst other negative emotions, as well as suffering

from unjustified and abusive invasions of personal privacy.




20. Defendants repeated unlawful attempts to collect this alleged debt from Ovila, was

an invasion   of Ovila's privacy and his right to be left alone.



21. Defendant's illegal abusive collection communications          as more   fully described above

were the direct and proximate cause of severe emotional distress on the part of Ovila,




                         RESPONDEAT SAPERIOR LIABILITY



22, The acts or omissions of these individual Defendants, and the other debt collectors

employed as agents by Defendant Northeast Credit Solutions, Inc, who communicated

with Plaintiff Ovila Richard as more further described herein, were committed within the

time and space limits of their agency relationship with their principal, Defendant

Northeast Credit Solutions. Inc.




23. The acts and omissions by these individual Defendants and these other debt

collectors were incidental to, or of the same general nature as, the responsibilities these

agents were authorizedto perform by Defendant Northeast Credit Solutions, Inc. in

collecting consumer debts.
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 24. By committing these acts and omissions against Ovila, these individual Defendants

 and these other debt collectors were motivated to benefit their principal, Defendant

 Northeast Credit Solutions. Inc.




 25. Defendant Northeast Credit Solutions, Inc. is therefore liable to Ovila through the

Doctrine of Respondeat Superior for the intentional and negligent acts, errors, and

omissions done in violation of state and federal law by its collection employees,

including but not limited to violations of the FDCPA, in their attempts to collect this debt

by communicating with Ovila.




                      V      CAUSES OF ACTION




                                              COUNT    I
            WOL,ATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                     l5   a.S.C. S 1692 et seq.



26. Plaintiff repeats, realleges, and incorporates by reference all of the above paragraphs

of this Complaint as though fully stated herein.



27   '   The foregoing acts and omissions of each Defendant and their agents constitute

numerous and multiple violations of the FDCPA including, but not limited to, each and
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 every one of the provisions of the FDCPA, 15 U.S.C. S 1692 et seq., cited above, and

 below, with respect to Plaintiff:




                (a) Defendant violated gI692f of             the   FDCpA by using unfair or

                      unconscionable means in connection with the collection of an allesed

                      debt; and




                (b)   Defendant violated   S   I 692d(5) of the FDCPA by causing plaintifp        s


                      telephone to ring continuously with intent to annoy, abuse, or harass, the

                      natural consequence of which was to harass, oppress androt abuse

                      Plaintiff; and



                (c)   Defendant violated 51692b(3) of the FDCPA by calling athirdparty

                      more than once without being requested to do so by the third party

                      and without the reasonable belief that art earlier response from the

                      third party was eroneous or incomplete and that now the third party

                      has correct or complete location information.




28. As a result of the foregoing violations of the FDCPA, Defendant is liable to the

Plaintiff Ovila Richard for actual damages pursuant to 15 U.S.C. g 1692k(a)(1), statutory

damages in an amount up to $1000.00 pursuant            to   15    U.S.c. g 1692k(a)(2)(A), and

reasonable costs and attorney fees pursuant       to   15 U.S.C. $ 1692k(a)(3),     from each

Defendant herein.
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                                             COUNT     II,
               INVASION OF PRIVACY BY INTRASION APON SECLASION



29. Plaintiff Ovila Richard repeats, realleges, and incorporates by reference all of the

above paragraphs of this complaint as though         fully stated herein.



30'    Congress explicitly recognized a consumer's inherent right to privacy in collection

matters in passing the Fair Debt Collection Practices Act, when        it   stated as part of its

findinss:




15 U.S.C. g 1692(a) (emphasis added).




31. Congress further recognized       a consumer's   right to privacy in financial data in

passing the Gramm Leech Bliley Act, which regulates the privacy of consumer financial

data for a broad range of "financial institutions" including debt collectors, albeit without

a   private right of action, when it stated as part of its purposes:




          It is the policy of the Congress that each financial institution has an affirmative

          and continuing obligation to respect the privacy of its customers and to protect the

          security and confidentiality of those customers' nonpublic personal information,




15   U.S.C. g 6801(a) (emphasis added).
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 32. Defendants andlor their agents intentionally and/or negligently interfered, physically

 or otherwise, with the solitude, seclusion andlor private concerns or affairs of
                                                                                  Ovila,

 namely, by repeatedly and unlawfully attempting to collect a debt and thereby
                                                                               invaded

 Ovila's privacy.




 33. Defendants also intentionally andlor negligently interfered, physically or otherwise,

with the solitude, seclusion andlor private concerns or affairs of the Ovila, namely, by

repeatedly and unlawfully continuing to contact Ovila without his consent after he

already gave it reason to know he was not and did not know the alleged debtor they
                                                                                   were

seeking, and thereby invaded Ovila's right to privacy,




34' Defendants      and their agents intentionally and/or negligently caused emotional harm

to Ovila by engaging in highly offensive conduct in the course of collecting this debt,

thereby invading and intruding upon Ovila,s right to privacy.




35. Ovila had areasonable expectation of privacy in Ovila's solitude, seclusion, private

concems and affairs.




36' The conduct of these Defendants     and their agents, in engaging in the above-described

illegal collection conduct against Ovila, resulted in multiple intrusions and invasions of

privacy by these Defendants which occurred inaway that would be highly offensive to
                                                                                    a

reasonable person in that position.




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  37. Defendants' acts as described above were done intentionally
                                                                  with the purpose of
 coercing Ovila to pay the alleged debt.




 38' As a result of such intrusions and invasions of privacy, Defendants   are liable to Ovila

 for actual damages in an amount to be determined at trial from each
                                                                     and every Defendant.




                  W,       PRAYER FOR RELIEF



 WHEREFORE, Plaintiff respectfully requests that judgment be entered against
                                                                             each

 Defendant for the followins:




A. Actual damages from each Defendant pursuant to 15 U.S.C. g 1692k(a)(1)
                                                                          for the
emotional distress suffered as a result of the intentional andlor negligent
                                                                            FDCpA
violations, and from each Defendant for intentional andlor negligent invasions
                                                                               of privacy
in an amount to be determined attialand for plaintiff.




B, Statutory damages of $1000.00 from each Defendant pursuant to 15 U.S.c.
                                                                                 $

I6e2k(a)(2)(A).




C. Costs and reasonable attorney fees from each Defendant and for plaintiff pursuant
                                                                                     to

1s U,S.C. g 16e2k(a)(3).




D. For such other and further relief as the court may deem just and proper.



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Dated: Mav 29.2012                                     RESPECTFULLY SUBMITTED.
                                                        By: /s/ Kevin Crick
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DEMAND FOR JURY TRIAL
Please take notice that plaintiff Ovila Richard demands trial by jury in this action on all

issues so triable, US Const. amend. 7. Fed.R.Civ.P. 38,




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